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                                      CA SE N O .:13-cv-20861-R K


   K ADIA BINN S

          Plaintiff
  V.

  REGIO NAL           ADJUSTM EN T      BUR EAU ,
  IN C.

         Defendant.

            O RDER O F DISM ISSAL W ITH PREJUDICE AG AINST D EFENDA NT

          Based upon this Court's consideration of the Plaintifps N otice of Voluntary D ism issal
  W ithPrejudiceastoDefendant,REGIONAL ADJUSTM ENT BUREAU,lNC.,
          ltishereby ORDERED,A DJU DGED , and DECREED thatthe claim sthatwere asserted
  in this action against Defendant, REGIONA L ADJUST           NT BUREA U ,
  olsM lssEo m TH PREJUDICE.             6
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          sloxsothis              ,c dayor A                                     ,   2013.




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